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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ANTHONY WILLIAMS,             )
                              )
              Plaintiff,      )
                              )
    v.                        )                      1:19-cv-5923
                              )
MEDICAL BUSINESS BUREAU, LLC, )
                              )
              Defendant.      )

                                         COMPLAINT

       NOW COMES the plaintiff, ANTHONY WILLIAMS, by and through his attorneys,

SMITHMARCO, P.C., and for his Complaint against the defendant, MEDICAL BUSINESS

BUREAU, LLC, the plaintiff states as follows:

                               I.      PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C. §1692, et seq.

                                II.     JURISDICTION & VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. §1692 et seq., and pursuant to 28

U.S.C. §1331 and 28 U.S.C. §1337.

       3.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

                                         III.   PARTIES

       4.      ANTHONY WILLIAMS, (hereinafter, “Plaintiff”) is an individual who was at all

relevant times residing in the City of Carol Stream, County of DuPage, State of Illinois.

       5.      The debt that Plaintiff was allegedly obligated to pay was a debt allegedly owed

by Plaintiff to Central DuPage Emergency Physicians (hereinafter, “the Debt”).



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           6.    The Debt was for medical services that were provided to Plaintiff and submitted

to Plaintiff’s insurance provider, .

           7.    At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

U.S.C. §1692a(3).

           8.    MEDICAL BUSINESS BUREAU, LLC, (hereinafter, “Defendant”) is a business

entity engaged in the collection of debt within the State of Illinois. Defendant’s principal place

of business is located in the State of Illinois.      Defendant is registered as a limited liability

company in the State of Illinois.

           9.    The principal purpose of Defendant’s business is the collection of debts allegedly

owed to third parties.

           10.   Defendant regularly collects, or attempts to collect, debts allegedly owed to third

parties.

           11.   During the course of its efforts to collect debts allegedly owed to third parties,

Defendant sends to alleged debtors bills, statements, and/or other correspondence via the mail

and/or electronic mail and initiates contact with alleged debtors via various means of

telecommunication, such as the telephone and facsimile.

           12.   At all relevant times, Defendant acted as a debt collector as that term is defined by

15 U.S.C. §1692a(6).

           13.   At all relevant times, Defendant acted through its duly authorized agents,

employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.




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                                      IV.    ALLEGATIONS

       14.     On or about February 9, 2016, Plaintiff received medical services from Central

DuPage Emergency Physicians.

       15.     The medical services Plaintiff received on or about February 9, 2016 were

covered under Plaintiff’s health insurance policy with BlueCross BlueShield.

       16.     Upon information and belief, Central DuPage Emergency Physicians did not

submit a claim to BlueCross BlueShield for payment of the medical services provided on

February 9, 2016 until August of 2018.

       17.     On or about August 6, 2018, BlueCross BlueShield received a claim for payment

from Central DuPage Emergency Physicians in the submitted amount of $764.00.

       18.     On or about August 7, 2018, BlueCross BlueShield processed the claim for

payment that it received from Central DuPage Emergency Physicians.

       19.     Upon processing the claim that it received from Central DuPage Emergency

Physicians, BlueCross BlueShield determined that the charges submitted by Central DuPage

Emergency Physicians exceeded BlueCross BlueShield’s allowable charges for the services.

       20.     BlueCross BlueShield further determined that the allowable charges amounted to

$216.00, and that, because Plaintiff had not yet met his deductible, Plaintiff would be required to

pay that $216.00 figure.

       21.     BlueCross BlueShield further determined that because Central DuPage

Emergency Physicians was a “preferred or participating network provider,” Plaintiff would not

be responsible for the difference between the submitted charges ($764.00) and the allowed

charges ($216.00).




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       22.     Central DuPage Emergency Physicians is a preferred or participating network

provider with BlueCross BlueShield.

       23.     As a preferred or participating network provider with BlueCross BlueShield,

Central DuPage Emergency Physicians is prohibited from seeking payment from patients in

excess of the amount allowed by BlueCross BlueShield.

       24.     The amount allowed by BlueCross BlueShield for the medical services that

Central DuPage Emergency Physicians provided to Plaintiff on or about February 9, 2016, was

$216.00.

       25.     Thus, Central DuPage Emergency Physicians was prohibited from seeking any

payment from Plaintiff beyond $216.00.

       26.     In or around August of 2018, Central DuPage Emergency Physicians assigned the

Debt to Defendant for collection from Plaintiff.

       27.     On or about August 21, 2018, Defendant sent Plaintiff a correspondence in an

attempt to collect the Debt from Plaintiff.

       28.     The aforesaid correspondence stated that Plaintiff owed $764.00 to Central

DuPage Emergency Physicians for medical service provided on February 9, 2016.

       29.     Defendant has also reported the Debt to one or more “consumer reporting agency”

as that term is defined by §1681a(f) of the Fair Credit Reporting Act, (hereinafter, FCRA). 15

U.S.C. §1681 et seq.

       30.     Despite the fact that Plaintiff did not owe any more than $216.00, Defendant has

repeatedly reported that Plaintiff owes $764.00.

       31.     Defendant has reported that Plaintiff owes $764.00 as recently as June of 2019.




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       32.     Defendant’s reporting thus failed to comply with §1692e(8) and was deceptive

and misleading since, among other things, it deprived future users of Plaintiff’s consumer reports

of essential information relevant to their assessment of Plaintiff’s credit worthiness.

       33.     In its attempts to collect the debt allegedly owed by Plaintiff to Central DuPage

Emergency Physicians, Defendant violated the FDCPA, 15 U.S.C. §1692, in one or more of the

following ways:

               a. Used false, deceptive, misleading and unfair or unconscionable means to
                  collect or attempt to collect an alleged debt in violation of 15 U.S.C. §1692e;

               b. Communicated or threatened to communicate to any person credit information
                  which is known or which should be known to be false, including the failure to
                  communicate that a disputed debt is disputed in violation of 15 U.S.C.
                  §1692e(8);

               c. Was otherwise deceptive and failed to comply with the provisions of the
                  FDCPA.

       34.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

                                      V.      JURY DEMAND

       35.     Plaintiff hereby demands a trial by jury on all issues so triable.

                                   VI.     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, ANTHONY WILLIAMS, by and through his attorneys,

respectfully prays for Judgment to be entered in favor of Plaintiff and against Defendant as

follows:

               a.      All actual compensatory damages suffered;

               b.      Statutory damages of $1,000.00;

               c.      Plaintiff’s attorneys’ fees and costs;

               d.      Any other relief deemed appropriate by this Honorable Court.

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                                                  Respectfully submitted,
                                                  ANTHONY WILLIAMS


                                            By:   s/ David M. Marco
                                                  Attorney for Plaintiff

Dated: September 4, 2019

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